  Case 1:23-cv-00858-ADA Document 58 Filed 09/25/23 Page 1 of 2

                                                                           FILED
                                                                    September 25, 2023
        United States Court of Appeals                              CLERK, U.S. DISTRICT COURT
                                                                    WESTERN DISTRICT OF TEXAS

                                                                                  klw
             for the Fifth Circuit                               BY: ________________________________
                                                                                         DEPUTY
                              ___________

                               No. 23-50668
                              ___________

Book People, Incorporated; VBK, Incorporated, doing
business as Blue Willow Bookshop; Association of
American Publishers; Authors Guild, Incorporated;
Comic Book Legal Defense Fund; American Booksellers
Association,

                                                      Plaintiffs—Appellees,

                                   versus

Martha Wong, in her official capacity as the Chair of the Texas State
Library and Archives Commission; Kevin Ellis, in his official capacity the
Chair of the Texas State Board of Education; Mike Morath, in his official
capacity as the Commissioner of the Texas Education Agency,

                                        Defendants—Appellants.
                ______________________________

                Appeal from the United States District Court
                     for the Western District of Texas
                      USDC No. 1:23-CV-858 ADA
                ______________________________

                       UNPUBLISHED ORDER

Before Elrod, Haynes, and Douglas, Circuit Judges.
Per Curiam:
       IT IS ORDERED that an administrative stay is entered pending
further order of the court.
        Case 1:23-cv-00858-ADA Document 58 Filed 09/25/23 Page 2 of 2




                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                 TEL. 504-310-7700
CLERK                                                      600 S. MAESTRI PLACE,
                                                                   Suite 115
                                                          NEW ORLEANS, LA 70130

                           September 25, 2023
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 23-50668     Book People v. Wong
                       USDC No. 1:23-CV-858

Enclosed is an order entered in this case.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk

                                  By: _________________________
                                  Casey A. Sullivan, Deputy Clerk
                                  504-310-7642
Ms. Christina Cella
Mr. Philip Devlin
Ms. Lanora Christine Pettit
Ms. Laura Lee Prather
Ms. Catherine Lewis Robb
